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                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                             FOR THE TENTH CIRCUIT                            February 25, 2021
                         _________________________________
                                                                            Christopher M. Wolpert
                                                                                Clerk of Court


  UTAH PHYSICIANS FOR A HEALTHY
  ENVIRONMENT,

        Plaintiff - Appellee,

  v.                                                           No. 20-4043
                                                      (D.C. No. 2:17-CV-00032-RJS)
  DIESEL POWER GEAR, LLC; B&W                                    (D. Utah)
  AUTO, LLC doing business as Sparks
  Motors, LLC; DAVID W. SPARKS;
  JOSHUA STUART; KEATON HOSKINS,

        Defendants - Appellants,

  and

  4x4 ANYTHING LLC,

        Defendants.


                         _________________________________

                                      ORDER
                         _________________________________

        This matter is before the court on Defendant-Appellant Keaton Hoskins’ Joint

 Motion to Dismiss his Appeal. At the direction of the court, the motion is granted. The

 court dismisses Keaton Hoskins’ portion of this appeal and directs the Clerk to update the

 caption for this appeal accordingly.
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       The portions of the appeal brought by Diesel Power Gear, LLC, B&W Auto, LLC,

 David W. Sparks and Joshua Stuart remain pending and set for oral argument via video

 conference on March 10, 2021 at 9:00 A.M. Mountain Time.


                                            Entered for the Court



                                            CHRISTOPHER M. WOLPERT, Clerk




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